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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                     Case No.: 11-00002-Civ-Moody/McCoun, III

RAYMOND D. ARLOZYNSKI,

      Plaintiff,
v.

CENTRAL PORTFOLIO CONTROL, INC.,

     Defendant.
_________________________________________/

       JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all

matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

this action with each party to bear its own attorney’s fees and costs except as

otherwise agreed by the parties.


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By: /s/ Donald A. Yarbrough             By: /s/ Kenneth C. Grace
Donald A. Yarbrough, Esq.               Kenneth C. Grace, Esq.
 Case 8:11-cv-00002-JSM-TBM Document 9 Filed 04/23/11 Page 2 of 2 PageID 37




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_______________________________/

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 23, 2011, I certify that the foregoing
document is being served this day on all counsel of record or pro se parties identified on
the attached Service List in the manner specified.



                                                 s/Donald A. Yarbrough
                                                 Donald A. Yarbrough, Esq.


                                    SERVICE LIST

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